     Case 2:08-cr-00288-PMP-RJJ           Document 370        Filed 07/10/12      Page 1 of 1




 1
                                  UNITED STATES DISTRICT COURT
 2
                                          DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                          )
 4                                                      )
                                    Plaintiff,          )
 5                                                      )
               v.                                       )          2:08-CR-288-PMP-(RJJ)
 6                                                      )
     CALWAY WILLIAM CAULEY,                             )
 7                                                      )
                                    Defendant.          )
 8

 9

10                                      ORDER OF FORFEITURE
11             This Court found on March 2, 2012, that CALWAY WILLIAM CAULEY shall pay a
12   criminal forfeiture money judgment of $763,000.00 in United States Currency, pursuant to Fed. R.
13   Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United
14   States Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(A). Order of
15   Forfeiture, ECF No. 242.
16             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
17   States recover from CALWAY WILLIAM CAULEY a criminal forfeiture money judgment in the
18   amount of $763,000.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B);
19   Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section
20   (2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code, Section
21   853(p).
22                          10th day
               DATED this ______ dayof
                                     of__________________,
                                        July, 2012.        2012.
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                                                    UNITED STATES DISTRICT JUDGE
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